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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA



United States of America,
                                                       Case No. 22-cr-223 (11) (NEB/TNL)
                      Plaintiff,

v.
                                                             ORDER FOR TRAVEL
Asad Mohamed Abshir (11),                                     AUTHORIZATION

                       Defendant.



        This matter is before the Court on Defendant Asad Mohamed Abshir’s Motion to

Request Travel Authorization (ECF No. 161). The Government and Pretrial Services do

not object to the request.

        Based upon the all the files, records and proceedings herein, IT IS HEREBY

ORDERED that Defendant’s Motion to Request Travel Authorization (ECF No. 161) is

GRANTED to the extent set forth herein.

     1. The defendant may travel to Turkey to visit his family in September leaving on or

        about September 20th and returning about a month later, but in no event returning

        to Minnesota later than October 8, 2023. Specifics of roundtrip travel and an

        itinerary must be provided to and subject to approval by pretrial services four days

        prior to departure from Minnesota. Pretrial services also is directed to return

        temporarily Mr. Abshir’s passport two days in advance of travel, and he is ordered

        to surrender forthwith his passport to pretrial services after his travels are

        completed within two days.
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  2. All previously ordered conditions shall remain in effect, except as expressly

      modified herein.



Dated: July 31, 2023                    s/Tony N. Leung
                                        TONY N. LEUNG
                                        United States Magistrate Judge




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